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    Theologies of Exclusion: Christian Universities and
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EXHIBIT I                                                                                                        1
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 Theologies of Exclusion: Christian Universities and
 Discrimination against Sexual Minorities1
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     ABSTRACT
     In an era of rapidly evolving attitudes toward lesbian, gay, bisexual, and
     transgender rights, why do some Christian colleges and universities con-
     tinue to discriminate against lesbian, gay, and bisexual students? The most
     intuitive answer to this question might point to many religious traditions’
     conservative teachings about same-sex relationships. Nevertheless, many
     schools associated with socially conservative religious traditions are actually
     inclusive of their sexual minority students. Building on recent insights from
     the literature on religion and the “culture wars,” and analyzing original
     data on student handbook bans on same-sex relationships and
     “homosexual behavior” across 682 Christian colleges and universities, I
     show that it is when schools are associated with individualist religious tra-
     ditions that emphasize personal piety that conservative teachings on
     same-sex relationships are associated with discrimination against sexual
     minorities. The study holds implications both for research on the exclusion
     of sexual minorities in schools and for theoretical debates on the relation-
     ship between religion and social injustice.



 Introduction
 Despite the rapid gains by the lesbian, gay, bisexual, and transgender (LGBT) movement in the
 United States, many Christian faith traditions continue to resist extending equal rights to LGBT
 people. For example, the largest Christian group in the United States—the Roman Catholic
 Church—maintains that “homosexual acts [are] acts of grave depravity” and opposes the full
 inclusion of its noncelibate lesbian, gay, and bisexual members (Human Rights Campaign 2015).
 Although several mainline Protestant denominations (e.g., Disciples of Christ, Episcopal Church,
 Evangelical Lutheran Church in America, Presbyterian Church USA, and United Church of
 Christ) now accept lesbian, gay, and bisexual members and clergy, the largest mainline Protestant
 denomination, the United Methodist Church, continues to label homosexuality as a “sin” and
 refuses to ordain openly lesbian, gay, and bisexual clergy (Human Rights Campaign 2015). No
 major white evangelical Protestant denominations (e.g., Assemblies of God, Churches of Christ,
 Church of the Nazarene, Lutheran Church—Missouri Synod, Southern Baptist Convention,
 Wesleyan Church, and Wisconsin Evangelical Lutheran Synod) have embraced LGBT inclusion,
 and most black Protestant denominations and other religious groups emanating from the
 Christian tradition continue to resist LGBT inclusion.


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     Given the generally bleak landscape for LGBT people within Christian faith traditions
 (although see, e.g., Adler 2012; Kane 2013b; Whitehead 2013, 2017), it is perhaps no surprise that
 many Christian-affiliated colleges and universities in the United States still actively discriminate
 against LGBT students. Indeed, many Christian colleges and universities (31%) maintain official
 bans on “homosexual acts” or “homosexual behavior” (or similar prohibitions on same-sex rela-
 tionships), generally found alongside bans on rape and incest in student handbooks.2 The conse-
 quences of such discriminatory stances toward sexual minority students can be significant,
 certainly putting many students at risk of expulsion. Even if such bans are not always enforced,
 “if [people] define situations as real, they are real in their consequences” (Thomas and Thomas
 1928:571–572): such bans contribute to a negative campus climate for lesbian, gay, and bisexual
 students (Craig et al. 2017; Rockenbach and Crandall 2016; Woodford, Levy, and Walls 2013)
 and thus put students at risk of bullying, harassment, and mental health problems (Craig et al.
 2017; Wolff et al. 2016). Still, recent research shows that most Christian-affiliated colleges and
 universities (55%) have actually adopted official nondiscrimination policies protective of their les-
 bian, gay, and bisexual students, and this group of schools includes many colleges and universities
 affiliated with Christian traditions that maintain that homosexuality is a “sin” (Coley 2017). Why
 is it, then, that some Christian colleges and universities officially discriminate against sexual
 minorities while others do not?
     Although a handful of recent studies have examined predictors of LGBT inclusion in U.S.
 schools (Coley 2017; Fetner and Kush 2008; Fine 2012; Kane 2013b), only one study to date has
 examined discriminatory policies in U.S. schools in the form of formal prohibitions on same-sex
 relationships or sexual behavior. That study, by Wolff and Himes (2010), examines a random
 selection of 20 Christian colleges and universities associated with the Council for Christian
 Colleges and Universities (CCCU), finding that all had some form of campus ban on homosexual
 acts, homosexual behavior, or extramarital sexual relations. The study helpfully identifies an issue
 of ongoing concern for sexual minority students at Christian colleges and universities, but the
 group of Christian colleges and universities from which that sample was drawn is not representa-
 tive of all Christian colleges and universities—the CCCU represents only conservative (and
 mostly, white evangelical Protestant) Christian campuses. The study is also descriptive in nature
 and does not examine predictors of discriminatory policies. We thus continue to lack research
 that can explain the variation in discriminatory policies toward sexual minorities across a wide
 range of Christian colleges and universities.
     In this study, I address the puzzle of why some Christian colleges and universities discriminate
 against sexual minorities while others do not by drawing on recent insights from the literature on
 religion and the “culture wars.” Moving past the binary division of religious traditions into
 “conservative” and “liberal” camps—with religious traditions that oppose rights for sexual minor-
 ities assumed to be in the former camp and religious traditions that support rights for sexual
 minorities assumed to be in the latter camp—an emerging literature recognizes that religious tra-
 ditions are also characterized by “individualist” (sometimes labeled “libertarian”) and
 “communalist” (or “communal”) impulses (Fuist, Stoll, and Kniss 2012; Kniss 2003; Kniss and
 Numrich 2007). Individualist religious traditions emphasize personal morality and piety, whereas
 communalist religious traditions emphasize social justice. Put another way, individualist religious
 traditions concentrate on the failings of individuals and the obligations of individuals within the
 larger society; they deploy the language of “sin” and emphasize the need for personal responsibil-
 ity. Communalist religious traditions concentrate on the failings of society and the obligations of
 society to their members, and they deploy a language of structural failings and call for human

 2
  I do not focus on bans on gender transitions or transgender identification in this study, because few Christian colleges and
 universities have adopted explicit policies on transgender issues in their student handbooks. This is not to suggest, however,
 that Christian colleges and universities are inclusive of transgender students: As Coley (2017:103) found, only 10% of Christian
 colleges and universities have adopted nondiscrimination policies inclusive of “gender identity” or “gender expression.”




EXHIBIT I                                                                                                                           3
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 rights. Although many religious traditions that have adopted conservative teachings on same-sex
 relationships fall squarely in the individualist camp, other religious traditions that maintain con-
 servative positions on same-sex relationships are nevertheless better characterized by their com-
 munalist impulses. As I show, it is when Christian colleges and universities are associated with
 religious traditions that are both conservative and individualist that they will be most likely to
 maintain official bans on same-sex relationships or sexual behavior (most commonly referred to
 as “homosexual acts” or “homosexual behavior”).
     The study’s findings hold not only theoretical implications for literatures in the sociology of
 religion and sexualities but also practical implications for students mobilizing to challenge dis-
 criminatory policies across many Christian colleges and universities (Coley 2014, 2018; Hughes
 2018; McEntarfer 2011; Vespone 2016). I elaborate on these findings and their implications later
 in the article, but I first review previous research on religious opposition to and support for
 LGBT rights and discuss my data and analytic approach.


 Theorizing discrimination against sexual minorities at Christian colleges and
 universities
 A large body of research has attempted to account for the role of religious groups in the “culture
 war” debates, including the ongoing debates over LGBT rights. Some researchers (e.g., Hunter
 1991; Wuthnow 1988, 1989) link conservative and liberal divides to different religious positions
 on social issues. Christians with conservative religious beliefs—defined in terms of their tradition-
 alist beliefs in the inerrancy and infallibility of church scriptures and/or the authority of church
 leaders—tend to oppose the incorporation of LGBT members within their religious traditions and
 are more likely to oppose LGBT rights. In comparison, Christian with liberal religious beliefs—
 defined in terms of their adherence to modernist readings of church scriptures—are more likely
 to support inclusion of LGBT members within their traditions and thus endorse LGBT rights.
 Although researchers have debated whether these conservative versus liberal divides are most evi-
 dent between entire denominations or between congregations in any given denomination, the lit-
 erature’s overall emphasis on conservative versus liberal divides (rather than other potential
 dividing lines) is of primary interest here. Furthermore, although conservative and liberal divides
 manifest in a wide range of social debates, I concentrate here on denominations’ conservative and
 liberal divides over the morality of same-sex relationships.
     Research on religion and support or opposition to LGBT rights does show that Christian reli-
 gious traditions with conservative beliefs on same-sex relationships tend to oppose extending
 rights to LGBT people, whereas Christian religious traditions with liberal beliefs on same-sex rela-
 tionships tend to endorse LGBT rights. Perhaps unsurprising, at the U.S. denominational level,
 religious groups with conservative religious teachings on the morality of same-sex relationships
 all ban the ordination of lesbian, gay, and bisexual clergy and refuse to recognize same-sex mar-
 riages (Human Rights Campaign 2015). Most religious groups with conservative teachings on
 same-sex relationships have also advised congregations to deny lesbian, gay, and bisexual people
 membership, with the notable exception of the United Methodist Church, which advises the
 acceptance of lesbian, gay, and bisexual members (Human Rights Campaign 2015). Similarly, in
 studies of acceptance of gays and lesbians conducted at the U.S. congregational level, Adler
 (2012:192) showed that “congregations that are not biblically inerrant are over two times as likely
  … to allow membership privileges than those that are biblically inerrant,” and Whitehead
 (2013:307) found that religiously “conservative … congregations are much less likely to include
 lesbians and gays in congregational life or formally welcome them” especially as compared to reli-
 giously liberal congregations. In a sign that religious traditions’ official theological positions may
 be loosely coupled with congregational practices regarding the inclusion of sexual minorities,
 though, the studies show that Catholic parishes, despite belonging to a religious tradition that



EXHIBIT I                                                                                                 4
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 officially condemns same-sex relationships, are highly likely to welcome those who are in same-
 sex relationships as members in practice (see also Whitehead 2017).
     A variety of studies have also documented mobilization against LGBT rights in the public
 sphere by religious traditions with conservative beliefs about same-sex relationships. It is true
 that, in the early 1960s, many people of faith who maintained that homosexuality was a “sin”
 were inspired to become active in homophile organizations, arguing against anti-sodomy laws
 and police harassment of lesbian, gay, and bisexual people (White 2015:ch. 3). Yet by the late
 1960s and early 1970s, as gay liberationists and lesbian feminists began mobilizing alongside civil
 rights, feminist, and working-class movements in the United States, Christians increasingly per-
 ceived their institutions to be under assault and came to form the backbone of a major backlash
 against LGBT rights. Evangelical activist Anita Bryant, for example, formed the organization Save
 Our Children in 1977, mobilizing churchgoers against local nondiscrimination ordinances inclu-
 sive of sexual orientation (Fetner 2008). Similarly, Baptist minister Jerry Falwell formed the
 Moral Majority in 1979, a conservative coalition that would mobilize churchgoers in support of
 socially conservative politicians and against any attempts to advance LGBT rights (Wilcox 1991).
 Conservative Christians were instrumental in a number of anti-LGBT rights policy campaigns
 thereafter, including in opposition to funding for HIV/AIDS research in the 1980s, in support of
 discriminatory federal legislation such as the Defense of Marriage Act in the 1990s, in support of
 a Federal Marriage Amendment that would define marriage as a union between one man and
 one woman in the 2000s (Griffith 2017; Williams 2010), and in support of religious freedom laws
 allowing religious discrimination against LGBT people in the 2010s (Kazyak, Burke, and
 Stange 2018).
     Although most research on religious opposition to or support for various “culture war” issues
 such as LGBT rights continues to focus on such conservative versus liberal religious divides over
 the morality of same-sex relationships, emerging research (e.g., Fuist et al. 2012; Kniss 2003;
 Kniss and Numrich 2007) links individualist (sometimes called “libertarian”) and communalist
 (or “communal”) religious divides to positions on social issues. Christians who hold individualist
 orientations—and who believe that churches should focus on reforming individuals—generally
 believe homosexuality threatens their moral purity and are more likely to oppose LGBT rights.
 However, Christians who hold communalist orientations—and who believe that churches should
 focus on promoting social and/or economic justice in the wider society—are more likely to sup-
 port LGBT rights. Communalist religious traditions often exhibit a tendency to endorse human
 rights even for those whom they disagree, and thus a communalist orientation can lead religious
 traditions to oppose discrimination against LGBT people and endorse LGBT rights even when
 they hold conservative beliefs on the morality of same-sex relationships.
     Recent research on religion and LGBT rights supports a link between individualist and com-
 munalist theological orientations and opposition to or support for LGBT rights. In their article
 aptly titled “Beyond the Liberal-Conservative Divide,” Fuist et al. (2012:68) mapped the theo-
 logical orientations of various religious traditions; they showed that all of the religious traditions
 with LGBT-inclusive policies happen to have communalistic theologies. In addition, many LGBT
 religious organizations protesting their denominations’ policies on same-sex relationships draw
 on communalistic theological arguments, with the primary exceptions being those LGBT religious
 organizations protesting the Church of Jesus Christ of Latter-day Saints, Jehovah’s Witness, and
 evangelical Protestant groups (Fuist et al. 2012:70). In a study on LGBT inclusion at Christian
 colleges and universities, Coley (2017) shows that Christian schools affiliated with communalist
 religious traditions are much more likely to have LGBT groups and nondiscrimination policies
 inclusive of sexual orientation than are Christian schools affiliated with individualist religious tra-
 ditions, even when controlling for religious traditions’ conservative or liberal teachings on same-
 sex relationships.



EXHIBIT I                                                                                                  5
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    Such insights on individualist and communalist theological orientations across religious tradi-
 tions allow us to move past binary conceptions of conservative and liberal religious divides and
 thus understand religious traditions as the more complex and multifaceted entities that they are.
 Specifically, such insights allow us to understand how Christian colleges and universities associ-
 ated with religious traditions that teach that homosexuality is a “sin” might nevertheless choose
 not to discriminate against sexual minority students, that is, if these Christian colleges and uni-
 versities are also associated with religious traditions that have well-developed bodies of social just-
 ice teachings, comfort with the idea of universal human rights, and/or concern for the way that
 societies fail their most vulnerable members. Conversely, Christian colleges and universities may
 interpret teachings stating that homosexuality is a “sin” as mandates to discriminate when those
 schools are associated with religious traditions that emphasize personal piety. Denominations cer-
 tainly have ways to encourage or even require a Christian college or university to adopt an
 accommodating or discriminatory stance toward their lesbian, gay, and bisexual students, such as
 requiring schools to place members of or leaders in their denominations on those schools’ boards
 of trust or attaching certain expectations or requirements to money given to the school by a
 denomination (Coley 2018:ch. 4). If students at a school, or alumni of or donors to a school, are
 members of the denomination in question, they may add additional pressure to a school drawing
 on the language of their theological traditions (a phenomenon Fuist et al. [2012] certainly docu-
 mented in their study of LGBT activists groups mobilizing to promote inclusive membership poli-
 cies within their respective denominations).
    Overall, given the theory and research on religion and the “culture wars” just reviewed, I pro-
 ceed in this study to test this central proposition: Christian colleges and universities associated
 with religious traditions that view same-sex relationships as “sinful” will adopt student handbook
 bans on same-sex relationships or sexual behavior (most commonly referred to as “homosexual
 behavior” or “homosexual acts”) when those denominations also exhibit individualist theological
 orientations.


 Data and methods
 The study’s population of interest is Christian colleges and universities in the United States
 (N ¼ 682). I generated a list of such schools through the U.S. Department of Education’s
 Integrated Postsecondary Education Data System (Integrated Postsecondary Education Data
 System [IPEDS] 2014) website. Although these schools certainly differ in the degree to which
 they expect all members of their community to be Christian—with schools that accept only
 Christian students or hire Christian faculty or staff on one end, to schools that maintain no
 expectations that students, faculty, staff, or administrators be Christian on the other end—all of
 these schools currently maintain religious ties to a Christian denomination or, in the case of non-
 denominational schools, at least actively identify themselves as Christian.
    The dependent variable is a discriminatory student handbook ban on same-sex relationships
 or sexual behavior.3 To identify such bans, I examined the student handbooks of the 682
 Christian colleges and universities for the 2013 to 2014 school year. I searched for terms such as
 “homosexual,” “homosexuality,” “gay,” and “sex” to identify any language in the student hand-
 books regarding sexual intercourse or relationships between two people of the same sex. The
 schools that adopted discriminatory policies against lesbian, gay, and bisexual students generally

 3
  A potential additional source for data on discriminatory policies at Christian colleges and universities might be the Title IX
 waivers that the U.S. Department of Education began issuing to Christian colleges and universities toward the end of the
 Obama administration, allowing religious schools to discriminate against transgender students in particular (Gjelten 2018).
 However, the Trump administration rescinded protections for transgender students—in essence issuing a “blanket Title IX
 waiver” for religious schools to be able to discriminate (Soulforce 2018)—making these waivers redundant and leading many
 schools to stop requesting them (Allen 2018).




EXHIBIT I                                                                                                                          6
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 did so by banning “homosexual acts” or “homosexual behavior” alongside behaviors such as
 “rape” and “incest” in a student code of conduct section of the student handbook (although I
 also counted a school as having a discriminatory student handbook ban if it had other language
 suggesting that same-sex relationships were banned or that the school viewed marriage as only
 being between a man and a woman).4 Because the language of “homosexual acts” and
 “homosexual behavior” was remarkably similar across the student handbooks of the Christian col-
 leges and universities with such bans, Christian colleges and universities were likely looking to
 peer schools to see how other schools dealt with such relationships or behavior. In qualitative
 interviews as part of a larger project (Coley 2018), I found that the seemingly broad and ambigu-
 ous language of “homosexual acts” and “homosexual behavior” (rather than homosexual inter-
 course, same-sex relationships, etc.) was adopted out of a belief, at the time such language was
 drafted, that only two people of the opposite sex could properly have sexual intercourse. Thus,
 the language of “homosexual acts” and “homosexual behavior” is meant to be enforced against
 two people of the same sex engaged in sexual activity. Nevertheless, because of the ambiguity of
 the language, it could theoretically be applied against two people of the same sex engaged in
 behaviors such as hand-holding. I found that bans on same-sex relationships or sexual behavior
 were present at 31% of the Christian colleges and universities (n ¼ 211 of 682).
    The primary independent variables of interest are affiliation with individualist (rather than
 communalist) religious traditions and affiliation with religious traditions with conservative (rather
 than liberal) teachings on same-sex relationships, with a special focus on the interaction between
 individualism and conservative positions on same-sex relationships. To construct the variable that
 indicates whether a school is affiliated with an individualist religious tradition, I obtained infor-
 mation on religious affiliation from IPEDS (2014) and then coded the data according to classifica-
 tions by Fuist et al. (2012:68).5 Table 1 lists examples of religious traditions with individualist and
 communal orientations. In general, evangelical Protestant denominations (e.g., Assemblies of
 God, Churches of Christ, Church of the Nazarene, Lutheran Church—Missouri Synod, Southern
 Baptist Convention, Wesleyan Church, Wisconsin Evangelical Lutheran Synod) and independent
 and nondenominational Christian traditions possess individualist orientations, whereas the
 Roman Catholic Church, black Protestant denominations (e.g., African Methodist Episcopal,
 Christian Methodist Episcopal Church, National Baptist Convention), mainline Protestant
 denominations (e.g., American Baptist Churches USA, Disciples of Christ, Episcopal Church,
 Evangelical Lutheran Church in America, Presbyterian Church USA, United Church of Christ,
 United Methodist Church), and the historic Protestant peace churches (Church of the Brethren,
 Friends General Conference, Mennonite Church USA) exhibit communal orientations.6 Overall,
 35% of Christian universities are associated with individualist religious traditions (n ¼ 238
 of 682).
    To construct the variable that indicates whether a school belongs to a religious tradition with
 socially conservative teachings on same-sex relationships, I used the data on religious affiliation
 from IPEDS (2014) and then coded these religious traditions as having socially conservative posi-
 tions on same-sex relationships if they consider same-sex relationships to be “sinful.” I draw

 4
  Note that some schools (13.7%) adopted broader bans on “homosexual/heterosexual intercourse.” For my initial analyses,
 unless these schools separately indicated that they believed same-sex relationships to be intrinsically immoral or that they
 believed marriage should be between only a man and a woman, I did not code schools with such bans as having
 discriminatory handbook bans.
 5
  I cross-checked Fuist et al.’s (2012) classifications and filled in occasional gaps in their study with my own review of official
 materials provided on the websites of these denominations.
 6
  Although Fuist et al. (2012) consider only formal denominations in their study, I code independent and nondenominational
 Christian schools as individualist given that their doctrines generally align with evangelical Protestant denominations
 (Association of Religion Data Archives 2018). Indeed, past research shows nondenominational Christian churches to be deeply
 individualist in nature, perhaps unsurprising given that they reject formal association with other congregations (e.g., Cohen
 and Hill 2007).




EXHIBIT I                                                                                                                             7
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 Table 1. Examples of major religious traditions, by individualist and communal orientations and by conservative and liberal
 teachings on same-sex relationships.
                                                   Religious traditions with                    Religious traditions with
                                                   communal orientations                        individualist orientations
 Religious traditions with conser-          African Methodist Episcopal                  Assemblies of God
 vative teachings on same-sex               American Baptist Churches USA                Churches of Christ
 relationships                              Christian Methodist Episcopal Church         Church of the Nazarene
                                            Church of the Brethren                       Lutheran Church—Missouri Synod
                                            Mennonite Church USA                         Seventh Day Adventist
                                            Moravian Church in North America             Southern Baptist Convention
                                            National Baptist Convention                  Wesleyan Church
                                            Roman Catholic Church                        Wisconsin Evangelical Lutheran Synod
                                            United Methodist Church
 Religious traditions with liberal          Disciples of Christ                          Nondenominational Christiana
 teachings on same-sex                      Episcopal Church                             Independent Baptista
 relationships                              Evangelical Lutheran Church in America       Independent Lutherana
                                            Friends General Conference
                                            Presbyterian Church USA
                                            United Church of Christ

 a
     Nondenominational and independent schools were coded as being associated with liberal teachings on same-sex relationships
      if those schools had broken off from a denomination due to a rejection of a denomination’s social conservatism.


 primarily on information from the Human Rights Campaign’s (2015) faith statement database.
 Religious traditions with socially conservative or liberal teachings on same-sex relationships are
 also noted in Table 1. The group of religious traditions with socially conservative positions on
 same-sex relationships includes not only the aforementioned evangelical Protestant denominations
 but also the Roman Catholic Church, all of the aforementioned black Protestant denominations,
 two of the mainline Protestant denominations (American Baptist Churches USA and United
 Methodist Church), and two of the historic peace churches of Protestantism (Church of the
 Brethren and Mennonite Church USA). Religious traditions with socially liberal positions on
 same-sex relationships are limited to some of the mainline Protestant denominations (e.g.,
 Disciples of Christ, Episcopal Church, Evangelical Lutheran Church in America, Presbyterian
 Church USA, and United Church of Christ) and the Friends General Conference, along with
 some independent or nondenominational Christian universities that have broken off previous ties
 to socially conservative denominations.7 Overall, 79% of Christian universities are associated with
 religious traditions that teach that same-sex relationships are “sinful” (n ¼ 538 of 682).
     I include control variables from past studies on LGBT groups and policies in U.S. schools
 (Coley 2017; Fetner and Kush 2008; Fine 2012; Kane 2013a). Although these studies concentrate
 on LGBT-inclusive policies in U.S. schools, I include variables from such studies with the expect-
 ation that any positive effects in studies of LGBT inclusion would be reversed in a study of dis-
 criminatory policies toward sexual minorities. For a first group of control variables, I consider
 institutional characteristics associated with LGBT-related policies, specifically a school’s selectivity
 (percentage acceptance rate, drawing directly from data on the IPEDS [2014] website) and
 endowment per student (drawn directly from data on FindTheBest [2014], given the lack of data
 on endowment in IPEDS [2014]). Findings in past studies would seem to imply a negative effect
 for school selectivity and endowment on discriminatory handbook policies (Coley 2017;
 Kane 2013a).
     For a second group of control variables, I consider student body characteristics associated with
 LGBT-related policies: the number of students at a school, the percentage of students of color,

 7
  Although I classified many nondenominational Christian colleges and universities as socially conservative, given that their
 doctrines generally align with evangelical Protestant denominations (Association of Religion Data Archives 2018), if I found
 specific documentation that a school had broken off from a Christian denomination in reaction to its social conservatism, I
 coded that school as “liberal.”




EXHIBIT I                                                                                                                        8
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 the percentage of women students, the percentage of students on need-based loans, and the per-
 centage of students who major in religious studies or theological studies, all drawn directly from
 data on the IPEDS (2014) website. Findings in past studies would seem to suggest that schools
 with a lower total number of students and more religious/theological studies students would tend
 to adopt discriminatory handbook policies (Coley 2017; Fetner and Kush 2008; Fine 2012).
 (Findings on race, gender, and income composition of students have been extremely mixed across
 studies, with some indication that a higher percent of students of color is negatively associated
 with LGBT inclusion; Coley 2017; Kane 2013a.)
     Finally, a third group of control variables relates to the sociopolitical contexts in which these
 Christian colleges and universities are embedded. I consider whether a school is located in a
 “blue” (Democratic-leaning) state, whether a school is located outside of the South, and whether
 the school is located outside of a rural area, drawing on data on school location from IPEDS
 (2014) matched with relevant data on 2012 election results and Census Bureau classification of
 southern states and rurality. Past studies would seem to imply negative effects for location in
 “blue states,” the non-South, and nonrural areas on the presence of discriminatory handbook pol-
 icies (Coley 2017; Fetner and Kush 2008; Fine 2012).
     In the analyses that follow, I provide descriptive statistics and results from logistic regressions.
 The descriptive statistics compare schools with discriminatory handbook bans to schools without
 discriminatory bans in terms of all variables included in the study (not holding other variables
 constant). I indicate when differences between schools with discriminatory bans and schools with-
 out discriminatory bans are statistically significant by providing results from chi-square tests of
 proportions and t tests of means. The multivariate logistic regression analyses indicate the logged
 odds of a Christian college or university having a student handbook ban on same-sex relation-
 ships or sexual behavior (e.g., “homosexual behavior” or “homosexual acts”). Because intraclass
 correlation coefficients indicate that a significant proportion of the total variance in discrimin-
 atory handbook bans is explained by clustering within religious traditions (but not within states),
 I employ cluster robust standard errors by religious tradition.8


 Results
 I begin by providing descriptive statistics. Specifically, Table 2 contrasts schools with discrimin-
 atory policies to schools without discriminatory policies in terms of each variable included in the
 study. The results show that schools with discriminatory policies tend to be associated with reli-
 gious traditions with conservative teachings on same-sex relationships (94.31%); however, numer-
 ous schools without discriminatory policies are also associated with religious traditions
 maintaining conservative positions on same-sex relationships (75.14%). Schools with discrimin-
 atory policies are similarly associated with individualist religious traditions (91%), but the contrast
 with the percentage of schools that lack discriminatory policies but are associated with individual-
 ist religious traditions (9.77%) is much more stark. The bivariate relationships for control varia-
 bles generally align with expectations.
     Next, Table 3 provides the results of the multivariate logistic regression analyses of discrimin-
 atory student handbook bans at Christian colleges and universities. Model 1 represents the base
 model, including all control variables but excluding variables related to the individualist or
 socially conservative nature of a school’s affiliated religious tradition. The measure of model fit
 (Nagelkerke’s measure) is approximately 0.48. The remaining models (2 through 4) then intro-
 duce the variables for affiliated religious traditions seriatim. Model 2 shows that affiliation with a
 religious tradition that maintains a conservative position on same-sex relationships is significantly

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  I also estimated results from multilevel models that conceptualize school (i.e., student body and institutional) characteristics
 as nested within denominations and found that the results were consistent with the logistic regression models that follow.




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 Table 2. Descriptive statistics for discriminatory handbook policies at Christian universities.
                                                                                   Schools with            Schools without
                                                               All schools    discriminatory policies   discriminatory policies     Sig.
 Affiliation with conservative religious tradition (prop.)       78.89%               94.31%                    75.14%              """
 Affiliation with individualist religious tradition (prop.)      34.90%               91.00%                     9.77%              """
 Number of students (mean)                                        2,430                1,985                     2,630              """
 % Students of color (mean)                                      31.79%               27.41%                    33.75%              """
 % Women (mean)                                                  59.17%               53.27%                    61.81%              """
 % Students on loans (mean)                                      67.07%               63.54%                    68.66%              ""
 Endowment (FTE) (mean)                                         $30,025              $18,121                   $35,358              """
 % Acceptance (mean)                                             67.70%               70.77%                    66.32%              "
 % State vote for Obama (mean)                                   48.93%               46.82%                    49.87%              """
 Non-South (prop.)                                               61.88%               53.55%                    65.61%              """
 Nonrural (prop.)                                                74.78%               70.14%                    76.86%              "
 Sample size                                                       682                  211                       471
 Note. Sig. ¼ significance; prop. ¼ proportion; FTE ¼ full-time equivalent.
 "p < .05. ""p < .01. """p < .001 (two-tailed tests).



 Table 3. Logistic regression models for discriminatory handbook policies at Christian universities.
                                                                    Model 1            Model 2           Model 3           Model 4
                                                                      b                  b                 b                 b
                                                                      SE                 SE                SE                SE
 Religion variables
 Affiliation with religious tradition with conservative
    teachings on same-sex relationships                                                1.565"                             #0.945
                                                                                       0.737                               0.619
 Affiliation with individualist religious tradition                                                       4.275"""         0.778
                                                                                                          0.445            1.282
 Affiliation with religious tradition with conservative
    teachings on same-sex relationships x individualist
    religious tradition                                                                                                     4.281""
                                                                                                                            1.355
 Student body characteristics
 Number of students                                                 0.000             0.000              0.000             0.000
                                                                    0.000             0.000              0.000             0.000
 % Students of color                                               #2.413""          #2.557""           #2.631""          #2.315"
                                                                    0.892             0.844              0.875             1.010
 % Women                                                           #2.045            #1.952             #2.308            #2.037
                                                                    1.434             1.497              1.543             1.767
 % Student loans                                                   #0.957            #0.715             #0.139            #0.802
                                                                    0.825             0.884              1.026             1.015
 % Religion majors                                                  7.750"""          7.450"""           4.723"""          4.463"""
                                                                    2.247             2.214              0.937             1.083
 Institutional characteristics
 Endowment (FTE)                                                    0.000             0.000               0.000             0.000
                                                                    0.000             0.000               0.000             0.000
 % Acceptance                                                      #0.298            #0.249               0.218             1.021
                                                                    0.684             0.677               0.930             0.982
 Contextual characteristics
 % State vote for Obama                                           #2.292             #2.232             #1.759            #2.471
                                                                    1.690              1.544              3.214             3.430
 Non-South                                                        #0.637             #0.672               0.110             0.109
                                                                    0.379              0.421              0.581             0.552
 Nonrural                                                         #0.177             #0.316             #0.342            #0.210
                                                                    0.267              0.281              0.278             0.360
 Constant                                                           3.068"             1.594            #0.551              0.026
                                                                    1.341              1.279              1.254             1.156
 Chi-square                                                       281.00"""          304.80"""          526.49"""         561.83"""
 Nagelkerke                                                         0.476              0.508              0.758             0.791
 Note. SE ¼ standard error; FTE ¼ full-time equivalent.
 "p < .05. ""p < .01. """p < .001 (two-tailed tests).




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 Figure 1. Interaction effect between individualist orientation and conservative teachings about same-sex relationships on
 presence of discriminatory policy.


 and positively associated with the presence of discriminatory student handbook bans, as expected.
 By exponentiating the coefficient for a religious tradition with a conservative position on same-
 sex relationships, one finds that the odds of having a discriminatory handbook ban are 4.78 times
 greater for schools associated with religious traditions maintaining conservative positions on
 same-sex relationships than for schools associated with religious traditions maintaining liberal
 positions on same-sex relationships. Note, however, that the measure of model fit in Model 2
 improves only slightly (to 0.51). Model 3 introduces the variable for affiliation with an individual-
 ist religious tradition, and this variable is similarly significantly and positively associated with the
 presence of student handbook bans. In this case, however, the odds of having a discriminatory
 handbook ban are 71.88 times greater for schools associated with individualist religious traditions
 than for schools associated with communal religious traditions. Nagelkerke’s measure now
 improves to 0.76. Finally, Model 4 introduces the interaction term indicating whether a school is
 affiliated with a religious tradition that is both conservative and individualist in nature. This
 interaction term is significantly and positively associated with the presence of student handbook
 bans, indicating that when a school is associated with an individualist religious tradition, the sim-
 ultaneous association with a religious tradition maintaining a conservative position on same-sex
 relationships now leads to 72.31 greater odds of having a discriminatory handbook ban. In this
 final combined model, the measure of model fit improves further to 0.79.
     Figure 1 provides a visual model of the interaction effect between theological orientation and
 teachings on same-sex relationships and makes the utility of the interaction term clear.
 Specifically, Figure 1 shows that it is when a school is associated with a religious tradition that
 maintains both a conservative teaching on same-sex relationships and an overall individualist
 orientation that it is more likely to have a discriminatory ban than not (with more than 80% of
 such schools having discriminatory policies). Schools affiliated with religious traditions that main-
 tain conservative teachings on same-sex relationships yet are also associated with communalist
 religious traditions are not likely to have discriminatory bans, and similarly any schools affiliated
 with religious traditions with liberal teachings on same-sex relationships (whether those religious
 traditions are individualist or not) are unlikely to have student handbook bans.
     Only rarely do any of the control variables have statistically significant effects on the presence
 of student handbook bans. Specifically, in each of the models, an increase in the percentage of



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 students of color at a school is negatively associated with the presence of a student handbook
 ban, whereas an increase in the percentage of religion or theological studies majors at a school is
 positively associated with the presence of a student handbook ban. No other control variables are
 significant. The finding on a school’s racial composition is somewhat surprising, given that the
 percentage of students of color at a school has sometimes been negatively associated with the
 presence of LGBT groups at colleges and universities (Coley 2017; Kane 2013a). This finding
 seems to indicate that, although racially diverse campuses may not be particularly inclusive, they
 do not go out of their way to be exclusionary, either. By contrast, the finding on percentage of
 religion and theological studies majors at a school is very much in line with past literature and
 may partly be driven by some highly conservative schools that require students to maintain reli-
 gion or theological studies as one of their college majors (Coley 2017).


 Alternative models
 It is possible that the dependent variable included in the preceding models undercounts the num-
 ber of schools that take discriminatory actions against sexual minority students. Specifically,
 although past research has shown that more than 55% of Christian colleges and universities have
 adopted nondiscrimination policies inclusive of sexual orientation (Coley 2017), and although this
 study shows that more than 31% of Christian colleges and universities have adopted student
 handbook policies on same-sex relationships or sexual behavior, a remaining 13.7% of Christian
 colleges and universities lack either kind of policy or have seemingly neutral policies toward sex-
 ual minority students (e.g., bans on “homosexual/heterosexual intercourse”). It is possible these
 schools might still find ways to discriminate against sexual minority students or enforce seem-
 ingly neutral bans against their lesbian, gay, bisexual students more often than against their het-
 erosexual students. Thus, in additional analyses (not shown here but available upon request), I
 constructed an alternative dependent variable that analyzes whether a school has declined to
 adopt a nondiscrimination policy inclusive of sexual orientation (and thus has a formal student
 handbook ban on same-sex relationships or behavior, a seemingly neutral policy against homo-
 sexual/heterosexual policy, or no policy at all). The results remain consistent with the models just
 presented—the interaction effect between individualist orientation and a conservative teaching on
 same-sex relationships remains the strongest predictor—although the overall model fit is slightly
 weaker (0.64 in the combined model). The only control variable that is significant (and a negative
 predictor) in a combined model is a state’s percentage vote for Obama, indicating that a state’s
 political leanings may rise in importance when considering why schools lack inclusive nondiscri-
 mination policies.


 Discussion
 Why do some Christian colleges and universities discriminate against lesbian, gay, and bisexual
 students? The results clearly support the central proposition advanced in this study—specifically,
 Christian colleges and universities associated with conservative religious traditions that teach that
 homosexuality is a “sin” will tend to adopt discriminatory student handbook bans on same-sex
 relationships or sexual behavior if those religious traditions also exhibit individualist theological
 orientations that emphasize matters of personal piety. Christian schools associated with conserva-
 tive religious traditions that nevertheless exhibit communal theological orientations—that is, that
 are oriented toward issues of social justice—tend to lack such handbook bans, as do most
 Christian schools associated with liberal religious traditions (whether individualist or
 communalist).
    A close analysis of the data reveals limited heterogeneity among schools associated within any
 given denomination in terms of their policies on same-sex relationships; in other words, schools



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 associated within any given denomination largely take the same approach to same-sex relation-
 ships. Specifically, the following denominations (all exhibiting communal orientations) are not
 affiliated with any schools that have adopted discriminatory student handbook policies regarding
 same-sex relationships or sexual behavior: African American Episcopal Church, American Baptist
 Churches USA, Disciples of Christ, Episcopal Church, Evangelical Lutheran Church in America,
 United Church of Christ, and United Methodist Church. Roman Catholic Church, Presbyterian
 Church USA, and Friends schools come quite close to lacking discriminatory policies. This is not
 to say these schools are entirely welcoming—indeed, school cultures likely vary significantly—but
 it is to say that these schools have generally decided not to formally exclude lesbian, gay, and
 bisexual students from their schools. Conversely, all schools affiliated with the following denomi-
 nations (all exhibiting individualist orientations) have adopted discriminatory policies toward
 “homosexual acts” and “homosexual behavior”: Assemblies of God and Wesleyan Church.
 Churches of Christ, Nazarene, and Seventh Day Adventist schools also come close to nearly all
 having discriminatory policies. (For the sake of this discussion, I have not listed those denomina-
 tions that are only affiliated with fewer than five schools.)
     The schools with the most diversity in terms of their policies among the remaining larger reli-
 gious traditions are independent and nondenominational Christian schools (some of which broke
 off from denominations because of objections to their social conservatism and thus no longer
 have a formal denomination holding them back from opening their doors to lesbian, gay, and
 bisexual students), as well as Southern Baptist schools. The Southern Baptist Convention is more
 decentralized than many other large denominations, and indeed Baptist schools tend to be affili-
 ated with state Baptist conventions (rather than the national Southern Baptist Convention as a
 whole), which may provide individual schools some flexibility in setting policies. Again, it is
 important to emphasize that schools that lack discriminatory handbook bans are not necessarily
 welcoming—indeed, very few Baptist schools have gone so far as to adopt inclusive nondiscrimi-
 nation policies—as well as to note that many of the schools continue to marginalize sexual
 minority students through more subtle ways, such as through heteronormative housing policies.
     Overall, though, it seems clear that the religious traditions with which Christian colleges and
 universities are affiliated have a strong impact on their schools’ policies toward sexual minorities,
 and this effect is likely due to those religious traditions’ individualist or communal orientations.
 Indeed, the theological orientations of the religious traditions with which Christian colleges and
 universities are affiliated may shape schools’ conceptions of what it means to be a Christian col-
 lege or university. Specifically, schools associated with individualist religious traditions (which
 emphasize personal piety) may see themselves as catering primarily to Christian students and
 hold them to their traditions’ interpretations of Christian teachings on same-sex relationships.
 However, schools associated with communal religious traditions (which emphasize social justice)
 may see themselves as providing education to everyone in their surrounding communities,
 whether those people are Christian or non-Christian, and that means that these schools open
 their doors even to students with whom they disagree.


 Conclusion
 Lesbian, gay, and bisexual students attend Christian colleges and universities for many of the
 same reasons as straight students: Some students are devoutly religious and seek to both grow in
 their faith and have opportunities to explore questions regarding the meaning of life in ways that
 might not be possible at secular schools (Glanzer, Hill, and Johnson 2017; Hawthorne 2014).
 Other lesbian, gay, and bisexual students, much like their heterosexual peers, attend Christian col-
 leges and universities not so much out of any strong faith convictions (Dalessandro 2016) but
 because their parents have encouraged them to go there, because the school is in an attractive
 location, because the school has a good academic reputation, or because the school gave them the



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 most financial aid (Coley 2018). Regardless, sexual minority students face particular challenges to
 their inclusion at nearly one-third of such campuses in the form of student handbook bans on
 same-sex relationships and sexual behavior.
     This study is the first both to document and to explain variations in the presence of discrimin-
 atory policies toward sexual minority students across Christian colleges and universities in the
 United States, showing that schools tend to discriminate against their sexual minority students
 when they are affiliated with religious traditions that teach that same-sex relationships are “sinful”
 and exhibit an overarching focus on issues of personal piety. The study not only fills a lacuna in
 research on campus policies toward lesbian, gay, and bisexual students but also seeks to advance
 sociological theory on the role of various religious traditions in the “culture wars.” Specifically,
 the study pushes back against the notion that religious traditions engaged in the culture wars can
 be distinguished along predictable conservative or liberal lines and instead argues that to fully
 understand religious traditions’ support or opposition to social justice, one must also understand
 these religious traditions’ individualist or communal orientations (Fuist et al. 2012; Kniss 2003;
 Kniss and Numrich 2007). Past studies in the sociology of religion on black Protestant churches,
 although not using the same language of individualism or communalism, have demonstrated
 similar divides between (and within) religious traditions. For example, Barnes (2004:202) has
 shown that black churches specializing in “prophetic functions” (e.g., by promoting community
 empowerment) were more involved in providing social services to black communities than black
 churches specializing in “priestly functions,” which focused on “spiritual/religious needs of mem-
 bers" (see also Reed, Williams, and Ward [2016] on this priestly and prophetic distinction).
 Similarly, Davidson and Garcia (2014) have shown that, due to their churches’ histories of teach-
 ings in favor of social justice, black Protestants are more likely to support social services for
 undocumented immigrants as compared to the more individualistic white evangelical Protestants.
 However, this study is relatively unique in applying such a framework across a full range of
 Christian religious traditions (also see Coley 2017; Fuist et al. 2012). Future studies might simi-
 larly draw on this framework to understand religious traditions’ stances on social issues such as
 transgender rights, no-fault divorce, and access to contraception.
     The results also contribute to the literature on gender, sexuality, and education. Past scholar-
 ship has identified predictors of LGBT groups and inclusive nondiscrimination policies in U.S.
 schools (Fetner and Kush 2008; Fine 2012; Kane 2013b), including Christian colleges and univer-
 sities in particular (Coley 2017). However, we have lacked insight into why some schools adopt
 policies that discriminate against their sexual minority students, a phenomenon mostly confined
 to religious colleges and universities and previously identified by Wolff and Himes (2010). This
 study has both documented and theorized variation in such discriminatory policies across the full
 range of Christian colleges and universities in the United States. Future studies might examine
 whether the framework can explain discriminatory policies at non-Christian religious colleges and
 universities in the United States or at Christian colleges and universities outside the
 United States.
     Finally, the results have practical implications for the growing number of student movements
 mobilizing to challenge discriminatory policies at Christian colleges and universities (Coley 2014,
 2018; McEntarfer 2011; Vespone 2016), as well as for the work of activist groups such as
 Soulforce (a national organization that has held “Equality Rides” to schools with discriminatory
 student handbook policies; see Powell 2011; Spencer and Barnett 2013). Lesbian, gay, and bisexual
 students attending many Christian colleges and universities face a negative campus climate (Craig
 et al. 2017; Rockenbach and Crandall 2016; Woodford et al. 2013), placing them at risk of bully-
 ing, harassment, and mental health problems (Craig et al. 2017; Wolff et al. 2016). Sexual minor-
 ity students at such schools also commonly report experiencing personal religious-sexual identity
 conflicts (Bailey and Strunk 2018; Coley 2014; Hughes 2018; Longard 2013; Wedow et al. 2017),
 given long-standing skepticism and hostility toward lesbian, gay, and bisexual people from many



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 people of faith (e.g., Barringer, Gay, and Lynxwiler 2013; Zeininger, Holtzman, and Kraus 2017).
 The results suggest one practical strategy for challenging such discriminatory policies and thus
 improving the campus climate for sexual minorities (and perhaps also transgender students) at
 Christian colleges and universities: deploying communalist religious arguments in favor of LGBT
 rights. One comparative study of LGBT activism at four Christian colleges and universities
 showed that employing religious discourse that emphasizes that a Christian community should be
 loving and welcoming toward everyone has been highly successful at ending discriminatory poli-
 cies at some schools (such as Belmont University, a formerly Southern Baptist and currently non-
 denominational university in Nashville, Tennessee, and Goshen College, a Mennonite college in
 Goshen, Indiana) (Coley 2018:ch. 4). Activist groups that eschewed religious discourse in favor of
 more generic pro-human rights arguments were, by comparison, less successful in challenging
 discriminatory polices (Coley 2018:ch. 4). The continued individualist leanings of many of these
 schools’ affiliated denominations will continue, however, to remain an obstacle, as will these
 schools’ affiliation with conservative consortiums such as the CCCU (Wolff and Himes 2010),
 which will perhaps force more pointed policy and legal conversations in the years to come
 (Gjelten 2018).


 Author notes
 Jonathan Coley holds a PhD in Sociology from Vanderbilt University and is currently an Assistant Professor of
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 the sociology of religion, focusing on processes related to minority-group inclusion within conservative, religious
 settings. His first book, Gay on God’s Campus: Mobilizing for LGBT Equality at Christian Colleges and Universities,
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 Social Movements, Conflicts and Change.


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EXHIBIT I                                                                                                              17
